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               EXHIBIT B
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               a~s   Ie       Cast for Audio




                                                                     TRIAL EXHIBIT 0125




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            Agenda
                 Introduction
                 Discussion points
                 Main UX flows
                      Casting
                      Updates
                      Multi-Zone groups




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            Google-

                                       Cast for Audio

                         Integrate the Google Cast technology into audio devices
                                 supporting audio key use cases and UX


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            Google Cast for Audio - Main concepts


                                                    P
                                Content discovery
                                                                          Streaming media



                                                                                            Cast for Audio
              Cast                                      Devi      overy                       Receivers
             Senders                                      Playback UX




             Google Cast is a multi-device technology that lets users send and control content like
             video and audio from a small computing device like a phone, tablet, or laptop to large
                               rendering devices like a television, or speakers.




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            C4A Program overview
             • Uses Google Cast SDK
             • Enables Google Cast content support for C4A devices
             • Streaming onlyAudio & metadata (No VideolGraphics)
             • Setup through Google Cast app and OEM's setup flow
             • Cast SW Includes Cast Multi-Zone feature
             • Plays on top of OEM's Multi-Channel mechanisms




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            Discussion points
             •   Development process and release cycle
                    SW development & Integration
                  o
                    Pushing updates
                  o
                    QA and certification
                  o
             •   Supported platforms
                    HWrequirements
                  o
                    Platform SW and libraries
                  o
             •   Multi-Zonefeatures alignment and flows



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            Go    k)Lc         Main UX flows




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            (u     _,Ic


            Start casting to a C4A device
            C4A devices shall use a special icon differentiating them from non-audio devices (A)
            On the Cast list, devices wilI show the Media Route identifier while Idle (B)

                                                                                                   IL
                                                                a a..Uo
                                                                ~~




                                    II                                                                                        II

                 User press the Cast                     User sees the C4A devices                 Cast button indicates
                      button a                               with and selects it                        connection
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            C4A Cast control through the Cast menu
                                           C? 4




                      ®   Not For Threes




                       User press the Cast
                       button while casting                     control menu

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            C4A Cast control through the lock screen



                                             Android Screen lock




                     User is casting Play                            User control casting
                            Music                                  through the lock screen

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            Google

            C4A Discoverability - non-supported content apps
            Apps shall use the dev-consoleto signal they support C4A devices and arsups, else C4A devices will filtered in cast menu




                                                                         •
           Content Provider didn't                  " ii•
          enable support for Audio
          only devices and groups




                                                      User press the Cast                      User doesn't see the
                                                            button                                C4A devices
                                                                                                         Goo le Confidential and Proprietary




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            Go gte            Updates




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            C4A Update UX goals
             •   Pushing Cast & Platform SW updates in a "user friendly" way:
                  o Without interfering the user
                  o No user intervention

             •   Support upgrading 'Legacy' platform to C4A devices

             •   Adjust update flows for "no-display" devices:
                  o Indicate updates to the users through supported Uls
                  o Integrate zero-day update into setup flow




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             Go gle

             Google Cast SW updates
              Cast SW update shall be applied at a user friendly times, based on Google Cast heuristics




                         Update is     C4A Device   Update is applied         Updating              Update           C4A Device
         New Cast SW
                        downloaded                                                                   done
           available                   Cast SW V1 when device not used                                              Cast SW V2
                                     Platform SW V1                                                               Platform SW V1


                                                                          User is indicated that
                                                                          update is in progress


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              Go SIC

               Platform SW updates
               Updates shall be applied when device is not used:
                • No active playback & timeout since last activity & "Late night" local time
                • During "late night" local time
                • Upon Cast SW request (Mandatory updates)




          New platform SW
         available on Brand's
                severs
                                >C4A Device
                                  Cast SW V1
                                Platform SW V1
                                                 Update is DL & applied
                                                 when dev,ce is not used

                                                                           L   Updating
                                                                                                                    P
                                                                                                     Platform update might
                                                                                                    includes latest Cast SW
                                                                                                                                  C4A Device
                                                                                                                                  Cast SW V2
                                                                                                                               Platform SW V2

                                                                                                                              Platform & Cast SW
                                                                                                                                 Is up to date
                                                                           User is indicated that
                                                                           update is in progress



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            Updates - C4A Zero-Day OTA
              - Zero-day OTA shall be part of the setup process and will include both platform
              and Cast SW updates
              - Zero-day OTA shall be supported through both Brand and Cast app setup


            User setup the device                                                             Platform and Cast update
                                         As part of setup -
          through Cast/Brand's app    platform and Cast SW                                   are applied as part of setup
                                     are checking for updates            Updates available

               C4A Device                                                                          C4A Device
               Cast SW V1                                                                           Cast SW     )a
             Platform SW V1                                                                       Platform SW V2




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              Why forcing the mandatory update as part of the setup? Since audio devices has no
              display to convey the message, and we don't want user to "finish setup" try to cast,
              and fail because the device is downloading a mandatory update and he can't cast




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              O     Ic         Multi-Zone Groups




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            Go SIC

            Multi Zone Groups - C4A Device<->Group relationship
             Each C4Adevice can be a memberof several groups
             Chromecasts shall be supported as group members
             Up to -10 devices speakers in a single group

                                         Home
                                                1st floor




                                             SpeakerA          SpeakerB


                                             Parents



                                                             00
                                             SpeakerC       Chromecast6




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            Multi Zone Groups - Cast SW partition
            - Cast SW & SDK shall be responsible forthe Cast Multi-Zone mechanism
            - Brand's apps shall be provided with an SDK to support Group configuration

                                         Home
                                                    - Multi-Zone Discoverability
                                                - Multi-Zone Audio & Metadata sync
                                                     - Multi-Zone Configuration

                               Cast SW                 Cast SW <>    cast SW   <      Cast SW
                               Plat~fnolrm             Plat~f'orm      Sm                    m
                                                              V                         SW

                                                  z
                              SpeakerA                SpeakerB      SpeakerC         Speakers




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            Google

            Start casting to a Multi-Zone group
            Multi-Zone groups shall use a special icon differentiating them from other devices (A)




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                                                          eoarow n
                                                          Mxn w•a« n




                                 II                                                                  "~               II

                User press the Cast                     User sees the C4A                    Cast button indicates
                       button                        devices with and selects it                  connection
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            Google

            Group playback control through the app Cast menu
            When Casting to a group, playback through the content app is similar to regular C4Acasting




                                                               iI


                                                                                                                  wc..srwr.
            User press the Cast button                User press pause in
             while casting to a Group                the Cast control menu                        Content is paused


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            Google

            Quick Access to group configuration
            - While Group Casting, the cast button will provide a Ul to launch the Cast app group configuration
            - Group configuration will allow easy access to volume & mute control




                 !II
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                                 Il
               User press the Cast                  User press the settings                   User gets to the group
               button while casting                  quick access button                       configuration screen
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            Go SIC

            Multi Zone Groups - Overriding previous cast
             - For every speaker the last request overrides previous casting




                                                                                  Casting Play Music
                                          Casting                            ,—Home
                  User A start casting   Play Music         User B start
                     to speaker A                        casting to "Home'
                                                                                  speakerA     SPeakerB

                                          Speaker A
                                                                                  SpeakerC     Speaker0


                                                                                  - Casting starts at "Home"
                                                                              - Speaker A casting is overridden




                                                                                                                   Frupr hTr;




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            Go SIC

            Multi Zone Groups - Overriding previous cast (2)
             - Playback terminates on speakers which are not overridden




                                   Casting Play Music                             Casting Play Music
                                  Home                                                 1st Floor
                User
                  n A start                                User B start casting
             casting to "Home"                                to "1st floor
                                   Speaker      Speaker
                                                                                      SpeakerA


                                   Speaker C    Speaker6
                                                                                      SpeakerC


                                                                     Casting starts at "1st Floor" overriding previous
                                                                             casting at "1stfloor' speakers
                                                                   Casting for the rest of "Home" speakers terminates


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